                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                                CENTRAL DIVISION


STEPHANIE GASCA, et al.,

              Plaintiffs,

       v.                                      Case No. 2:17−cv−04149−SRB

ANNE PRECYTHE, et al.,

              Defendants.


DEFENDANTS’ MOTION TO ORDER THIS CASE TO MEDIATION AND STAY ALL OTHER
                 DEADLINES PENDING THAT MEDIATION

       Defendants move this Court to order this matter to mediation and stay any pending

deadlines until completion of mediation. Defendants make this request based upon their

belief that this matter can likely be resolved through mediation, and at a minimum

mediation can substantially narrow the issues remaining for the Court to determine. This

belief is based upon the substantial corrective measures, summarized below, that

Defendants have independently undertaken during the pendency of this litigation. A

resolution or narrowing of the issues would be economical as related to the Court’s

docket, increase the efficacy of any changes implemented by Defendants, and offer

Plaintiffs a remedy earlier than through any other disposition.

                                 Suggestions in Support

       Plaintiffs’ filed their Amended Class Action Complaint, (DE 23.), on October 12,

2017. A scheduling order was entered on February 23, 2018, setting a bench trial in the




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Central Division commencing on April 15, 2019, and establishing other necessary

deadlines. (DE 60.) Discovery closed on September 28, 2018, Dispositive Motions,

Daubert Motions, and Motions to strike expert designations are due Thursday, December

27, 2018, and Plaintiff’s filed a new Motion to Certify Class requiring a Defendants’

response by December 7, 2018. This Court has continued the trial until November 18,

2019.

        Plaintiffs’ single count alleges Defendants are violating the United States

Constitution in four identifiable ways. (DE 23, p. 37, ¶ 158). First, Plaintiffs allege that

Defendants fail to screen whether parolees are required to have counsel and whether they

are indigent and eligible for appointment of counsel.” (DE 23, p. 37, ¶ 156.). Second,

Plaintiffs allege that Defendants have failed to appoint counsel to those parolees who do

qualify. (DE 23, p. 37, ¶ 156.). Third, Plaintiffs allege that Defendants notice to parolees

of their rights during the parole revocation process is inadequate. (DE 23, p. 37, ¶ 157.).

Finally, Plaintiffs allege that “parolees are unable to speak on their own behalf, present

evidence, and cross-examine adverse witnesses” as a result of Defendants’ policies,

practices, and customs. . (DE 23, p. 37, ¶ 157.).

        In order to address Plaintiffs’ concerns and other reasons, Defendants have

developed and are changing their policies and procedures beyond, in many ways, what is

even arguably required by the Constitution. Defendants project February 1, 2019, as the

date of the new policies’ implementation. If this projected date changes, then Defendants

will inform the Court of any change.

        In general and among other changes, Defendants have developed new policies



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allowing parolees counsel during all hearings related to the parole revocation process,

and providing policies and procedures for the screening and appointment of counsel, as

required by Gagnon and provided by Missouri law. Defendants have developed new

policies simplifying and clarifying the notices given Parolees during the parole

revocation process. In addition, Defendants are limiting the considerations at revocation

hearings to the four-corners of the notice, including notice of any aggravating factors to

the Parolee. Finally, Defendants have developed policies broadening a parolee’s ability to

offer substantive and mitigating evidence at a revocation hearing to include, among other

things, testimony by phone and written statements.

      In addition, Defendants have developed and begun implementing these changes

without input from Plaintiffs. As early as May 2018, Defendants reached out to Plaintiffs

regarding mediation, but Plaintiffs were reluctant to participate without agreed conditions

precedent.

      WHEREFORE, Defendants move this Court to order this matter to mediation and

stay any pending deadlines until completion of mediation.

                                           Respectfully submitted,

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                                    By

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                            CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing was electronically served on
all parties of record and filed with the court via the court’s e-filing System on Thursday,
December 06, 2018.


                                             C. Douglas Shull, #49893




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